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                  UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF PENNSYLVANIA

ROBERT STOUD,                         :

     Plaintiff                       :    CIVIL ACTION NO. 3:17-2183

     v.                               :         (MANNION, D.J.)

SUSQUEHANNA COUNTY,                   :
ELIZABETH ARNOLD,
and MARY ANN WARREN,                 :

     Defendants

                                ORDER

     In accordance with the memorandum issued this same day, and upon

consideration of the defendants’ motion to dismiss, (Doc. 8), IT IS HEREBY

ORDERED THAT the defendants’ motion to dismiss, is GRANTED IN PART

and DENIED IN PART as follows:

     (1)   The defendants’ motion is GRANTED with respect to all of the

           plaintiff’s claims for punitive damages in his complaint and these

           claims are DISMISSED WITH PREJUDICE;

     (2)   The defendants’ motion is GRANTED with respect to all claims

           against defendants Arnold and Warren;

     (3)   All of the Title VII claims against defendants Arnold and Warren

           are DISMISSED WITH PREJUDICE;

     (4)   The PHRA claims against defendants Arnold and Warren, in their

           official capacities, are DISMISSED WITH PREJUDICE;

     (5)   The PHRA claims against defendants Arnold and Warren, in their
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                     individual capacities, are DISMISSED WITHOUT PREJUDICE;

          (6)        The defendants’ motion is DENIED with respect the plaintiff’s Title

                     VII and PHRA retaliation claims in Counts I and III of his

                     complaint against defendant Susquehanna County;

          (7)        The defendants’ motion is DENIED with respect the plaintiff’s Title

                     VII and PHRA hostile work environment claims in Counts II and

                     IV of his complaint against defendant Susquehanna County; and

          (8)        The remaining defendant Susquehanna County is directed to file

                     its answer to the plaintiff’s complaint within 14 days of the date of

                     this Order.

                                                                                s/ Malachy E. Mannion
                                                                                MALACHY E. MANNION
                                                                                United States District Judge


Dated: August 6, 2018
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